Case 1:05-md-01720-MKB-JAM Document 9204 Filed 04/17/24 Page 1 of 2 PageID #: 539897

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                                                                                       filed
                                                                                   IN CLERK'S OFFICE
   April 12, 2024                                                             U.S. DISTRICT COURT E.D.N.Y.
                                                                               ★     APR 17 ®          *
    United States District Court for the Eastern District of New York            BROOKLYN OFFICE
   Clerk of Court
   225 Cadman Plaza
    Brooklyn, New York 11201



   To Whom It May Concern:

   Please accept this letter as a statement of objection in relation to the Payment Card
   Interchange Fee and Merchant Discount Antitrust Litigation identified as No. 05-MD-1720
   (MKB)(JAM).

   ASB Sports Acquisition Inc dba Game One is a member of the Rule 23(b)(2) Class in the case
   called In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation. We
   object to the proposed settlement. Game One is a member of the class because we are a
   merchant who accepts Visa and Mastercard payment cards covered by the litigation. We are a
   retail business that sells team sports apparel and related goods to institutions and their fans
   with facility operations in five states servicing customers nationwide via our 680 employees.
   The current credit and debit card system is anticompetitive due to the limited number of
   primary merchant service providers, Visa being a prime example. Swipe fees among other
   imposed transaction related fees have grown over the years. This settlement does not solve
   these primary problems within the merchant service industry.

   Thank you for your consideration. Should you need to contact our attorney, Matthew Miller,
    he can be reached at 401 East Las Olas Blvd Ste 2000, Fort Lauderdale FL 33301, 954-765-0500.

   Sincerely,



    Kenheth E Finkbeiner
   VP of Accounting
   11500 Tailwinds Dr, Swanton OFI 43558
   443-889-2545




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     Game One                                               METROPLEX'HI 4m
11500 TaUwinds Drive
Swanton,Ohio 43558                                                     1024




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